           Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.53 Page 1 of 11



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     7                                 UNITED STATES DISTRICi COURT
     8                              SOUTHERN DISTRICT OF C*IFORNIA
                                                                                                                        J
     9                                     April 2018 Grand Jury
10       UNITED STATES OF AMERICA,                       Case No.
                                                                      1 9 CR 1 8 5 0 AJB
11                        Plaintiff,
                                                         l~_Q1cr!i§~T                                                   .l
12              v.                                       Title 8, U.S.C., Sec. 247(a) (2),
                                                         247 (d) (1), and 247 (d) (3) -
13       JOHN TIMOTHY EARNEST,                           Obstruction of Free Exercise of
                                                         Religious Beliefs; Title 18,
14                        Defendant.                     U.S.C., Sec. 249(a) (1) (B) - Hate
                                                         Crime Acts; Title 18, U.S.C.,
15                                                       Sec. 247 (a) (1) and 247 (d) (3) -
                                                         Attempted Damage to Religious
16                                                       Property; Title 18, U.S.C.,
                                                         Sec. 924(c) and 924(j) - Using.and
17                                                       Carrying a Firearm During and In
                                                         Relation to a Crime of Violence;
18                                                       Title 18, U.S.C., Sec. 924(d) and
                                                         Title 28, U.S.C., Sec. 246l(c) -
19       ~~~~~~~~~~~~~~~~~~~__J
                                                         Criminal Forfeiture
20             The grand jury charges:

21                                                Count 1

22             On    or    about   April   27,   2019,   within     the    Southern              District               of

23       California, defendant JOHN TIMOTHY EARNEST intentionally obstructed, by

24       force, victim L.G-K. in the enjoyment of her free exercise of religious

25       beliefs and the offense was in and affected interstate commerce.                                              The

26       acts of defendant JOHN TIMOTHY.EARNEST resulted in the death of L.G-K.

27       All in violation of Title 18,            United States Code,             Sections 247 (a) (2)
28       and 247 (d) (1).

         PGK/SPH/CPH:cms(xxx) (1) :San Diego
         5/21/19
       Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.54 Page 2 of 11




 1                                          Counts 2-4

 2         On   or   about   April   27,    2019,      within   the    Southern   District   of

 3   California, defendant JOHN TIMOTHY EARNEST intentionally obstructed, by

 4   force and threat of force, each victim listed below in the enjoyment of

 5   that victim's free exercise of religious beliefs and the offense was in

 6   and affected interstate commerce.                The acts of defendant JOHN TIMOTHY

 7   EARNEST included an attempt to kill,               and resulted in bodily injury to

 8   each victim in Counts       2 through       4;     the acts      also included the use,

 9   attempted use, and threatened use of a dangerous weapon, to wit, a Smith

10   & Wesson Model M&P 15 Sport            II   semi-automatic rifle,        bearing serial

11   number ending in 950.

12                             Count             Victim

13                               2                    Y.G.

14                               3                    A. p.

15                               4                    N. D., a juvenile

16   All in violation of Title 18, United States Code,                   Sections 247 (a) (2),

17   247 (d) (1), and 247 (d) (3).

18                                          Counts 5-54

19        On    or   about   April   27,    2019,      within   the    Southern   District   of

20   California, defendant JOHN TIMOTHY EARNEST intentionally obstructed, by

21   force and threat of force, each victim listed below in the enjoyment of

22   that victim's free exercise of religious beliefs and the offense was in

23   and affected interstate commerce.                The acts of defendant JOHN TIMOTHY

24   EARNEST included an attempt to kill each victim in Counts 5 through 54,

25   and the use,     attempted use,       and threatened use of a dangerous weapon,

26   to wit,    a Smith & Wesson Model M&P 15 Sport II semi-automatic rifle,

27   bearing serial number ending in 950.

28
                                                  2
     Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.55 Page 3 of 11




 1                         Count               Victim

 2                            5                S.A.

 3                            6                D.A.

 4                            7                N.A., a juvenile

 5                            8                y .A., a juvenile

 6                            9                I.A.
 7                           10                J.A.
 8                           11                Ja.A.
 9                           12                F.A.
10                           13                A.A.
11                           14                Z.B.
12                           15                J.M.C.
13                           16                L.C.
14                           17                J.C.
15                           18                D.C.
16                                             N.C.
                             19
17                                             I. D.
                             20
18
                             21                L. D., a juvenile
19
                             22                Li. D., a juvenile
20
                             23                M.D.
21
                             24                R. E. , a juvenile
22
                             25                T.E.
23
                             26                p. F.
24
                             27                G.F.
25
                             28                S.G.
26
                             29                C. G., a juvenile
27
                             30                R. G., a juvenile
28
                                           3
       Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.56 Page 4 of 11




 1                            Count              Victim

 2                              31               Yo. G., a juvenile

 3                              32               M.G.

 4                              33               Ye.G.

 5                              34               J.H.

 6                              35               R. I.

 7                              36               R.K.

 8                              37               H.K.

 9                              38               Ha.K.
10                              39               A.L.
11                              40               A.M.
12                              41               J.M.
13                              42               R.P.
14                              43               G.P.
15                                               S.P.
                                44
16                                               R.S.
                                45
17
                                46               H.S.
18
                                47               K.S.
19
                                48               L.S.
20
                                49               A. S., a juvenile
21
                                50               o.s.
22
                                51               K.T.
23
                                52               S. T., a juvenile
24
                                53               N. T., a juvenile
25
                                54               A. T., a juvenile
26
27   All in violation of Title 18,      United States Code,      Sections 247 (a) (2),

28   247 (d) (1), and 247 (d) (3).

                                             4
       Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.57 Page 5 of 11




 1                                                Count 55

 2         On    or   about   April      27,     2019,     within     the   Southern     District    of

 3   California,      defendant        JOHN     TIMOTHY     EARNEST    willfully       caused    bodily

 4   injury to L. G-K., because of the actual and perceived race of any person.

 5   The   offense     resulted    in     the    death     of    L.G-K.     All   in    violation    of

 6   Title 18, United States Code, Section 249 (a) (1) (B) (i).

 7                                              Counts 56-58

 8         On    or   about   April      27,     2019,     within     the   Southern     District    of

 9   California,      defendant        JOHN    TIMOTHY      EARNEST    willfully       caused    bodily

10   injury to the victims listed below, because of the actual and perceived

11   race of any person. Each offense included an attempt to kill each victim

12   listed in Counts 56 through 58:

13
                               Count               Victim
14
                                   56                    Y.G.
15
                                   57                A. P.
16
                                  58                 N.D.
17
18   All    in        violation         of       Title          18,    United      States         Code,

19   Section 249 (a) (1) (B) (ii).

20                                             Counts 59-108

21         On or about April 27, 2019, in the Southern District of California,

22   defendant JOHN TIMOTHY EARNEST, through the use of a firearm, willfully

23   attempted to cause bodily injury to each victim listed below,                              because

24   of the actual and perceived race of any person. Each offense included

25   an attempt to kill each victim listed in Counts 59 through 108:

26                             Count                Victim

27                                59                     S.A.

28                                60                     D.A.

                                                     5
     Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.58 Page 6 of 11




 1                        Count                         Victim

 2                          61                 N.A., a juvenile
 3                          62                 y .A.' a juvenile

 4                          63                 I.A.
 5                          64                 J.A.
 6                          65                 Ja.A.
 7                          66                 F.A.
 8                          67             A.A.
 9                          68                 Z.B.
10                          69                 J.M.C.
11                          70             L.C.
12                          71             J.C.
13                          72             D.C.
14
                            73             N.C.
15
                            74             I. D.
16
                            75             L. D., a juvenile
17
                            76             Li. D. , a juvenile
18
                            77             M. D.
19
                            78             R. E., a juvenile
20
                            79             T.E.
21
                            80             p. F.
22
                            81             G. F.
23
                            82             S.G.
24
                            83             C. G., a juvenile
25
                            84             R. G., a juvenile
26
                            85             Yo. G., a juvenile
27
                            86             M.G.
28
                                           6
          Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.59 Page 7 of 11




 1                               Count            Victim

 2                                   87             Ye.G.

 3                                   88             J.H.

 4                                   89             R. I.

 5                                   90             R.K.
                     .
 6                                   91             H.K.

 7                                   92             Ha.K.

 8                                   93             A.L.

 9                                   94             A.M.
10                                   95             J.M.
11                                   96             R.P.
12                                   97             G.P.
13                                   98             S.P.
14                                   99             R.S.
15                                   100            H.S.
16                                                  K.S.
                                     101
17
                                     102            L.S.
18
                                     103            A. S., a juvenile
19
                                     104            o.s.
20
                                     105            K.T.
21
                                     106            S. T. , a juvenile
22
                                     107            N. T., a juvenile
23
                                     108            A. T., a juvenile
24

25   All       in        violation         of   Title       18,   United   States    Code,

26   Section 249 (a) (1) (B) (ii).

27   II
28   II
                                                    7
          Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.60 Page 8 of 11




 1                                                 Count 109

 2             On   or     about   March   24,     2019,       within       the    Southern    District   of

 3   California,          defendant JOHN TIMOTHY EARNEST intentionally attempted to

 4   damage and destroy religious real property, that is, the Dar-ul-Arqam

 5   Mosque,        Escondido,       California,    because of the religious character of

 6   that property, and the offense was in and affected interstate and foreign

 7   commerce.           Such acts    included the use of fire.                     All in violation of

 8   Title 18, United States Code, Sections 247 (a) (1) and 247 (d) (3).

 9                                                 Count 110

10             On   or    about    April   27,     2019,       within       the    Southern    District   of

11   California, defendant JOHN TIMOTHY EARNEST knowingly used, carried, and

12   discharged a firearm,             that is, a Smith & Wesson Model M&P 15 Sport II

13   semi-automatic rifle, bearing serial number ending in 950, during and

14   in relation to a crime of violence for which he may be prosecuted in a

15   court of the United States, that is, the offenses charged in Counts 1

16   and 55 of this Indictment; and caused the death of and unlawfully killed

17   with malice aforethought victim L.G-K., a human being, through the use

18   of    a    firearm.       All     in violation           of    Title    18,    United    States   Code,

19   Sections 924(c) and 924(j).

20                                               Counts 111-113

21             On   or    about    April   27,     2019,       within       the    Southern   District    of

22   California, defendant JOHN TIMOTHY EARNEST knowingly used, carried, and

23   discharged a firearm that is,                 a Smith & Wesson Model M&P 15 Sport II

24   semi-automatic rifle,             bearing serial number ending in 950, during and

25   in relation to a crime of violence for which he may be prosecuted in a

26   court      of the      United     States,     that       is,    the    offenses    charged in this

27   Indictment set forth below:

28   II
                                                          8
       Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.61 Page 9 of 11




 1                          Count                      Offense

 2                               111           Counts 2 and 56

 3                               112           Counts 3 and 57

 4                               113           Counts 4 and 58

 5   All in violation of Title 18, United States Code, Section 924(c).

 6                                     SPECIAL FINDINGS

 7         For Counts 1 and 110, pursuant to Title 18,                   United States Code,

 8   Section 3591 (a) (2) (A) - (D),   defendant JOHN TIMOTHY EARNEST was over 18

 9   years of age at the time of the offense and:

10         1.   intentionally killed the victim,

11         2.   intentionally inflicted serious bodily injury that resulted in

12              the death of the victim,

13         3.   intentionally participated in an act,                 contemplating that the

14              life of a person would be taken and intending that lethal force

15              would be used in connection with a person,                 other than one of

16              the participants in the offense, and the victim died as a direct

17              result of the act, and

18         4.   intentionally and specifically engaged in an act of violence,

19              knowing that the act created a grave risk of death to a person,

20              other than one of the participants in the offense,                 such that

21              participation in the act constituted a reckless disregard for

22              human life and the victim died as a direct result of the act.

23         For counts 1 and 110, pursuant to Title 18, United States Code,

24   Sections    3592 (c) (5),    (c) (9),   and       (c) (16),    defendant   JOHN   TIMOTHY

25   EARNEST:
26        1.    in the commission of the offense,                  knowingly created a grave

27              risk of death to one and more persons in addition to the victim

28              of the offense,
                                                   9
      Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.62 Page 10 of 11




 1        2.    cormnitted        the    offense        after     substantial          pl"anning     and

 2              premeditation to cause the death of a person,

 3        3.    intentionally killed and attempted to kill more than one person

 4              in a single episode.

 5                                      FORFEITURE ALLEGATIONS

 6        1.      Counts 1 through 113 are realleged and incorporated to allege

 7   forfeiture to the United States of America pursuant to Title 18, United

 8   States     Code,     Section 924(d)          and    Title    28,    United        States      Code,

 9   Section 2461 (c).

10        2.     Upon conviction of one or more of the offenses alleged in

11   Counts 1 through 113 of this Indictment, defendant JOHN TIMOTHY EARNEST

12   shall forfeit to the United States, pursuant to Title 18, United States

13   Code, Section 924(d), and Title 28, United States Code, Section 2461(c),

14   all firearms and armnunition involved in the cormnission of the offenses,

15   including, but not limited to,               a Smith & Wesson Model M&P 15 Sport II

16   semi-automatic           rifle,    bearing    serial       number   ending        in   950,     and

17   approximately 50 rounds of .223 armnunition.

18        3.    If any of the above-described forfeitable property, as a result

19   of any act or omission of the defendant: 1) cannot be located upon the

20   exercise    of     due    diligence;   2)'   has    been    transferred      or    sold to,      or

21   deposited with, a third party; 3) has been placed beyond the jurisdiction

22   of the Court; 4) has been substantially diminished in value; or 5) has

23   been cormningled with other property which cannot be subdivided without

24   difficulty,

25   II
26   II
27   II
28   II
                                                    10
          Case 3:19-cr-01850-AJB Document 17 Filed 05/21/19 PageID.63 Page 11 of 11



     1    it is the intent of the United States,         pursuant to Title 28,        United

     2   States Code, Section 246l(c), which incorporates Title 21, United States

     3   Code, Section 853(p),     to seek forfeiture of any other property of the

     4   defendant up to the value of the property listed above as being subject
     5   to forfeiture.

     6   All   in violation   of   Title   18,   United States   Code,   Sections   924 (d),

     7   and Title 28, United States Code, Section 246l(c).

     8         DATED:   May 21, 2019.

     9

10

11

12       ROBERT S. BREWER, JR.
         United States Attorney
13

14       ERIC S. DREIBAND
15       Assistant Attorney General
         Civil Rights Division
16

17       By:   ~"\_A-
               CAROLINE P. };;J
18             SHANE P. HARRIGAN
               PETER G. KO
19             Assistant U.S. Attorneys -----.._

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21       By:

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